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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

KRISTINA MIRE, MD                           *    CIVIL ACTION NO. 2:15-cv-06965
                                            *
VERSUS                                      *    JUDGE SARAH S. VANCE
                                            *
LSU HEALTH SCIENCES CENTER                  *    MAGISTRATE JUDGE JOSEPH C.
                                            *    WILKINSON, JR.
                                            *
*      *       *      *       *      *      *
                                            ORDER
      Considering Plaintiff’s Motion for Leave to file a Reply memorandum:

IT IS ORDERED that leave be and it is hereby granted for Plaintiff, Dr. Kristina Mire, to file the

attached Memorandum In Reply To Defendant’s Opposition To Plaintiff’s Motion for Leave to

File Second Amended and Supplemental Complaint.

       New Orleans, Louisiana, this30th
                                    ___ day of March, 2016.




                                             _______________________________________
                                                   United Court
                                             U.S. District StatesJudge
                                                                  Magistrate Judge
